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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA
WINDBER HOSPITAL d/b/a CHAN Case No. 3:20-cv-80
SOON SHIONG MEDICAL CENTER,
on behalf of itself and all others similarly
situated,

Plaintiff, JUDGE KIM R. GIBSON

TRAVELERS PROPERTY CASUALTY
COMPANY OF AMERICA,

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Defendant.

MEMORANDUM ORDER

This case arises from a dispute regarding the obligations of Defendant Travelers Property
Casualty Company of America under a Deluxe Property Policy (the “Policy”) entered into with
Plaintiff Windber Hospital. Plaintiff asserts that it is entitled to recover “continuing normal
operating expenses” under the Policy as a result of losses and damages stemming from
governmental orders issued in response to the COVID-19 pandemic. Plaintiff brings this action
individually and on behalf of a class of similarly situated entities in the Commonwealth of
Pennsylvania. Pending before the Court is Plaintiff's Motion for Summary Judgment. (ECF No.
25.). At the initial Rule 16 conference, Defendant asserted that the Motion is premature because
the Court has not ruled on the issue of class certification. (See ECF No. 27.) The Court informed
the parties that it would examine this issue and render a decision on whether Plaintiffs Motion

is premature. (See id.)
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Federal Rule of Civil Procedure 23(c)(1)(A) provides that, “[a]t an early practicable time
after a person sues or is sued as a class representative, the court must determine by order whether
to certify the action as a class action.” Fed. R. Civ. P. 23(c)(1)(A). Courts interpreting “an early
practicable time” have held that this phrase precludes, or at least discourages, a court from
deciding a motion that reaches the merits of the litigation before deciding the issue of class
certification. See, e.g., Koehler v. USAA Cas. Ins. Co., No. 19-cv-715, 2019 WL 4447623, at *3 (E.D.
Pa. Sept. 17, 2019). The rationale for Rule 23’s requirement that certification be determined early
in the case is to avoid the potential for one-way intervention, in which members of a class benefit
from a favorable judgment without subjecting themselves to the binding effect of an unfavorable
one. Am. Pipe & Const. Co. v. Utah, 414 U.S, 538, 545-48 (1974). The rule against one-way
intervention is implicated whenever a plaintiff seeks a ruling on an issue relevant to the merits of
the class claims. Koehler, 2019 WL 4447623, at *5. When the rule is implicated, courts deny the
merits-based motion without prejudice, pending a decision on class certification. Id. at *8.

The Court holds that Plaintiff's Motion for Summary Judgment is premature because it
implicates the rule against one-way intervention. In its motion, Plaintiff seeks: (1) summary
judgment in its favor and against Defendant; (2) declaratory judgment that Plaintiff is entitled to
Business Income and Civil Authority coverages for “continuing normal operating expenses”
under the Policy issued by Defendant; and (3) injunctive relief to enjoin Defendant from
continuing to deny claims for recovery of Business Income and Civil Authority coverages for
“continuing normal operating expenses” to Plaintiff and the members of the class. (ECF No. 25
at 3.) Plaintiff's Motion asks the Court to rule on the merits of Plaintiff’s claims such that it could

provide offensive, nonmutual estoppel to members of a proposed class that has not been certified.

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To avoid the potential unfairness to Defendant by ruling on the merits of Plaintiff's claims
without a certified class, the Court will defer ruling on the Motion for Summary Judgment until

after the Court has ruled on a motion to certify a class.

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AND NOW, this / * day of July, 2020, itis HEREBY ORDERED that Plaintiff's Motion

  

for Summary Judgment (ECF No. 25) is DENIED without prejudice.

BY THE COURT:

 

Be

KIM R. GIBSON .
UNITED STATES DISTRICT JUDGE

 
